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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re:

TETHER AND BITFINEX CRYPTO ASSET          Case No. 19 Civ. 9236 (KPF)
LITIGATION




                   MEMORANDUM OF LAW IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR ISSUANCE OF A LETTER OF REQUEST




Date: July 19, 2023


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                                  PRELIMINARY STATEMENT

        Pursuant to the Convention on the Taking of Evidence Abroad in Civil or Commercial

Matters, Mar. 18, 1970, 23 U.S.T. 2555 (the “Hague Evidence Convention” or the “Convention”),

Plaintiffs Matthew Script, Benjamin Leibowitz, Jason Leibowitz, and Pinchas Goldshtein (“Plain-

tiffs”) respectfully request that the Court issue a letter of request to

             to compel deposition testimony from purported holder of certain accounts described

in Plaintiffs’ Amended Complaint (the “Anonymous Trader” or “Trader”). Plaintiffs’ proposed

letter of request (the “Letter of Request” or the “Letter”) is attached as Exhibit 1 to the accompa-

nying Declaration of Laura M. King (“King Decl.”).



                                                                           . Plaintiffs alleged in the

Amended Complaint that two cryptocurrency wallets—the “1J1d Wallet,” see AC ¶ 205, and the

“1AA6 Wallet,” see AC ¶ 206, together the “Relevant Wallets”—were a key conduit of Defend-

ants’ market-manipulation scheme.




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                     . This Court can initiate that process by issuing a letter rogatory.

       Accordingly, Plaintiffs respectfully request that the Court (1) sign the proposed Letter of

Request, (2) instruct the Clerk of Court to affix the Court’s seal thereto, (3) instruct the Clerk of

Court to transmit the Letter to                                             , and (4) issue any other

relief that may be necessary, just, and proper.

                                         BACKGROUND

       A.      The Anonymous Trader’s Relevance To This Case

       Plaintiffs filed their Amended Complaint on June 5, 2020. ECF No. 114 (“AC”). Plaintiffs

alleged that the B/T Defendants manipulated the crypto-asset markets by making carefully timed

purchases of cryptocommodities. AC ¶ 3. These purchases signaled to the market that there was

enormous demand for cryptocommodities, causing the price of those commodities to spike. Id.

Plaintiffs alleged that these purchases were made with B/T Defendants’ proprietary, fraudulently

issued crypto-asset called “tether” or “USDT,” which they marketed as pegged to and backed “one

to one” by U.S. Dollars (“USD”) held in reserve. AC ¶¶ 5, 193. In fact, Tether issued USDT with-

out USD backing and hid that fact by sending newly issued USDT to Bitfinex, the B/T Defendants’

proprietary crypto-asset exchange. AC ¶ 194. The common ownership between Bitfinex and

Tether permitted Tether to simply transfer newly issued USDT onto Bitfinex without receiving

USD in exchange—a purported requirement for such issuances. AC ¶ 7. Tether promised that it

would ensure that the value of USDT would always equal one U.S. Dollar by issuing USDT only

in response to legitimate market demand—i.e., in bilateral transactions with customers willing to

exchange USD one-for-one for USDT. AC ¶¶ 116, 151.
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       Defendants artificially inflated the price of cryptocommodities by purchasing Bitcoin and

other cryptocommodities with USDT that was not fully backed by USD, creating illusorily in-

creased demand for cryptocommodities and thus driving up prices. Plaintiffs further alleged that

B/T Defendants effected their manipulative scheme by, among other acts, transferring unbacked

USDT to the Relevant Wallets on the Bittrex and Poloniex crypto-asset exchanges. AC ¶¶ 200–

07. The Relevant Wallets consistently received a vastly disproportionate amount of newly issued

USDT, which was used to purchase cryptocommodities (e.g., Bitcoin) that were then sent back to

Bitfinex. For example, between January 2017 and December 2018, 72% of all USDT issued were

issued to the Relevant Wallets. AC ¶ 208. Plaintiffs alleged that these extremely large issuances,

unrelated to any apparent market demand, indicated that the Relevant Wallets were controlled by

the B/T Defendants themselves. AC ¶¶ 210, 214. Plaintiffs further contended that the newly issued

(and debased) USDT was used to purchase Bitcoin, which was transferred back to the Bitfinex

exchange (where it could be sold for USD). AC ¶ 264.




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       Since then, the parties have conducted and nearly completed document discovery, includ-

ing




                                                                   Accordingly, Plaintiffs bring this

motion to proceed using the Letter of Request.

                                          ARGUMENT

       The Hague Evidence Convention is in force                     and the United States. Société

Nationale Industrielle Aérospatiale v. U.S. Dist. Ct., 482 U.S. 522, 524 & n.1 (1987). The Con-

vention, a treaty made “under the authority of the United States,” U.S. Const. art. VI, is therefore

“the law of the United States” and gives this Court the power to

                             Aérospatiale, 482 U.S. at 533. The Court also has inherent authority

to issue letters of request, and that power is codified by 28 U.S.C. § 1781 and Federal Rule of Civil
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                                                                                 A seven-hour, one-day

deposition concerning the topics identified in Plaintiffs’ proposed Letter of Request, see King

Decl., Ex. 1, § 10, would not be overbroad or disproportionate



                        Accordingly, Plaintiffs have satisfied the principles of Rule 26. See Villela,

2018 WL 2958361, at *3.



                                               . Lantheus, 841 F. Supp. 2d at 776. Use of the Con-

vention would facilitate the collection of that testimony. See Aérospatiale, 482 U.S. at 541. This

Court should allow Plaintiffs to obtain it by granting their requested relief.

                                          CONCLUSION

        Plaintiffs respectfully request, pursuant to the Convention, Fed. R. Civ. P. 28(b), 28 U.S.C.

§ 1781, and this Court’s inherent authority, that the Court sign the proposed Letter of Request,

King Decl., Ex. 1, and instruct the Clerk to affix its seal to the same. Plaintiffs further respectfully

request that the Court instruct the Clerk of Court to transmit the Letter

                   . Plaintiffs have provided the Court with a pre-paid envelope addressed



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Dated:   New York, NY                    Respectfully submitted,
         July 19, 2023


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